    Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 1 of 30




          IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT
                         No. 22-55749
_____________________________________________________________

                           DAISY ALVAREZ,
                           Plaintiff and Appellee
                                       v.

        SHERATON OPERATING CORPORATION, ET AL.
                               Appellants
_____________________________________________________________
 On Appeal from the United States District Court for the Central District of
                 California, No. 2:20-cv-03608-TJH-JC
                      Honorable Terry J. Hatter, Jr.
_____________________________________________________________
                APPELLEE’S ANSWERING BRIEF
_____________________________________________________________

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                                     i
             Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 2 of 30




                                         TABLE OF CONTENTS

Statement of Issues ........................................................................................ 1

Statutory Authorities ..................................................................................... 1

Statement of the Case ...................................................................................... 1

Summary of Argument .................................................................................. 6

Standard of Review ......................................................................................... 8

Argument ...................................................................................................... 9

       I.       Appellants Had Knowledge of An Existing Right to Compel
                Arbitration. .................................................................................... 9

       II.      Appellants Intentionally Acted in a Manner That Was Inconsistent with
                Their Known Right to Arbitrate. .................................................. 12

                  A. Appellants Actively Litigated This Matter for Thirteen Months
                     Before Moving to Compel Arbitration. .............................. 13

                       i. Motion to Dismiss ........................................................... 15

                      ii. Answer to Complaint ...................................................... 16

                     iii. Discovery ........................................................................ 19

                  B. Appellants’ Conduct During the Pendency of this Lawsuit
                     Reflects an Intentional Decision Not to Arbitrate Appellee’s
                     Claims. ................................................................................ 21

Conclusion ..................................................................................................... 23




                                                            ii
          Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 3 of 30




                                  TABLE OF AUTHORITIES
Cases

AT&T Mobility LLC v. Concepcion,
    563 U.S. 1746 (2011) ....................................................................... 20

Blau v. AT&T Mobility,
       2012 U.S. Dist. LEXIS 21458 (N.D. Cal. February 21, 2012) ........ 16

Bowen v. Mt. Vernon Savings Bank,
       105 F.2d 796 (1939) ........................................................................ 10

Britton v. Co-Op Banking Group,
        916 F.2d 1405 (9th Cir. 2005) ............................................. 16-17, 19

Cape Flattery Ltd. v. Titan Maritime, LLC,
       647 F.3d 914 (9th Cir. 2011) ............................................................. 8

Fisher v. A.G. Becker Paribas Inc.,
        791 F.2d 691 (9th Cir. 1986) .................................................. 9, 16-18

Groom v. Health Net,
       82 Cal.App.4th 1189 (2000) .......................................................... 22

Hoffman v. Constr. Co. v. Active Erectors & Installers, Inc.,
       99 F.2d 796 (9th Cir. 1992) ........................................................... 11

Hightower v. JPMorgan Chase Bank, N.A.,
       2014 WL 12558114 (C.D. Cal. Jan. 28, 2014) ......................... 19-20

Kelly v. Pub. Util. Dist. No. 2,
         552 Fed. App’x 663 (9th Cir. 2014) .............................................. 23

Khalatian v. Prime Time Shuttle, Inc.,
        237 Cal.App.4th 651 (2015) ..................................................... 21-22

Lake Commc’ns, Inc. v. ICC Corp.,
       738 F.2d 1473 (9th Cir. 1984) .................................................. 21-22


                                                      iii
          Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 4 of 30




Martin v. Yasuda,
        829 F.3d 1118 (9th Cir. 2016) ............................................. 9, 13, 22

Morgan v. Sundance, Inc.,
        142 S. Ct. 1708 (2022) ............................................................. 9, 21

Newirth v. Aegis Senior Cmtys., LLC,
         931 F.3d 935 (9th Cir. 2019) .............................................. 9, 13, 22

Plows v. Rockwell Collins, Inc.,
         812 F.Supp.2d 1063 (C.D. Cal. 2011) .......................................... 11

Richards v. Ernest & Young, LLP,
         744 F.3d 1072 (9th Cir. 2013) ............................................ 8, 15, 19

Richards v. El Cajon Motors, Inc.,
         200 Cal.App.4th 832 (2011) ......................................................... 20

Sink v. Aden Enter., Inc.,
          352 F.3d 1197 (9th Cir. 2003) ........................................................ 8

Ticknor v. Choice Hotels Int’l, Inc.,
           265 F.3d 931 (9th Cir. 2001) ......................................................... 8

United States v. Park Place Assoc., Ltd.,
          563 F.3d 907 (9th Cir. 2009) ......................................................... 9

United States v. Georgia-Pac Co.,
          421 F.2d 92 (9th Cir. 1970) ......................................................... 10

United Computer Sys. v. AT&T Info Sys.,
         298 F.3d 756 (9th Cir. 2002) ....................................................... 15

Van Ness Townhouses v. Mar Inuds. Corp.,
         862 F.2d 754 (9th Cir. 1988) ....................................................... 22

Woods v. Saturn Distrib. Corp.,
          78 F.3d 424 (9th Cir. 1996) ........................................................... 8


                                                    iv
           Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 5 of 30




Zoller v. GCA Advisors, LLC,
           993 F.3d 1198 (9th Cir. 2021) ....................................................... 9

Statute(s)
Fed. R. Civ. P. 11(b) .................................................................................... 18

Fed R. Civ. P. 30(b)(6) .............................................................................. 3-4




                                                          v
        Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 6 of 30




                            STATEMENT OF ISSUES

      1. Did the District Court properly deny Appellants’ renewed motion to

         compel arbitration when Appellants waited over 13-months to file and

         instead opted to litigate dispositive motions and substantial discovery?

      2. Did the District Court properly find that Appellants knew, or should have

         known, of their right to arbitrate before April 2021?

      3. Did the District Court properly find that Appellants’ actions during

         litigation were inconsistent with the right to arbitrate?

      4. Did the District Court properly find that Appellants’ actions reflected an

         intent to litigate rather than to arbitrate since the inception of this

         litigation?

                         STATUTORY AUTHORITIES

      All pertinent statutory authorities appear in the addendum of this brief.

                          STATEMENT OF THE CASE

      Before filing her class action complaint, Appellee Daisy Alvarez

(hereinafter, “Appellee”) exhausted all efforts to investigate, in good faith, whether

she could bring her class claims against Appellants Sheraton Operating

Corporation (“Sheraton”) and Marriot International, Inc. (“Marriott”) (collectively,

“Appellants”) for their various California Labor Code violations in court. On


                                           1
        Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 7 of 30




December 31, 2019, Appellee sent Appellants a request for records pursuant to

California Labor Code sections 432, 226 and 1198.5. Excerpt of Record (“ER”) at

75-78. Specifically, Appellee requested a copy of “arbitration agreements.” Id.

On January 17, 2020, Appellants’ attorney, Vice President and Senior Counsel,

Jamie Balanoff, produced Appellee’s wage statements, payroll and deductions

history, and contents of files that were retained in her personnel file. ER at 79-80.

The personnel file included, among other things, meal and rest break policies, job

and safety guidelines, and various new hire checklists. ER 71. However, notably

missing were any arbitration agreements. Id.

      After reviewing Appellants’ January 2020 document production and filing a

Notice pursuant to the Private Attorneys General Act of 2004 (“PAGA”) with the

Labor and Workforce Development Agency (“LWDA”) on February 3, 2020,

Appellee filed her Class Action Complaint with the Los Angeles Superior Court on

March 13, 2020. ER at 379. Appellants had yet another opportunity to assert an

arbitration defense. Instead, Appellants removed the case to federal court on April

20, 2020. ER at 355. On April 27, 2020, Appellants filed a Motion to Dismiss and

Strike Class Allegations. ER at 324, 331. On July 31, 2020, the District Court

issued its order, denying Appellants’ motion. ER at 294. On August 14, 2020,

Appellants filed their Answer to Plaintiff’s Complaint, wherein they failed to assert

that an arbitration agreement existed or was applicable yet did contain an



                                          2
        Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 8 of 30




affirmative defense asserting that Appellant’s claims were preempted by the

Federal Arbitration Act. ER at 294; 315.

      As the record reflects, Appellants were given a multitude of opportunities to

assert an arbitration defense and move to compel arbitration even after filing their

motion to dismiss and answer. First, Between October 2020 and February 2021,

counsel for the Parties engaged in several meet and confer efforts after Appellants

represented an interest in mediating Appellee’s class claims. ER at 63. In

February 2021, after mediation efforts failed, Appellee served written discovery

requests and deposition notices for Appellants’ witnesses pursuant to Fed. R. Civ.

P. 30(b)(6), wherein Plaintiff’s counsel sought production of any relevant

arbitration agreements for Appellant or putative class members. ER at 45.

      Discovery was an opportunity for Appellants to investigate their records,

especially as it pertained to Appellee, and produce the arbitration provision at

issue. However, on March 18, 2021, Appellants again failed to produce any

arbitration agreement in their response to Appellee’s written discovery requests.

ER at 91-95. Appellants did, however, claim for the first time, that an arbitration

provision existed as part of a “collective bargaining agreement”, which Appellants

failed to produce. Appellee’s counsel immediately demanded any such document

be produced, but Appellant refused. ER 101-102. Then, again, on March 26,

2021, in their objection to Appellee’s Notice of Deposition pursuant to Fed. R. Civ.



                                           3
        Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 9 of 30




P. 30(b)(6), Appellants failed to mention the existence of any arbitration

agreement. ER 104.

      Finally, on April 7, 2021 – nearly sixteen months after first being asked to

produce a relevant arbitration agreement – Appellants produced an entirely new,

stand-alone arbitration agreement that was not part of any collective bargaining

agreement. ER 106-108. In response, Appellee immediately asked Appellants to

clarify how, as they claimed, “Defendants recently became aware” of the new

agreement. Id. Appellants refused to provide any clarity and insisted that

Appellee’s question was not a “salient inquiry.” ER at 106. Appellee again asked

for clarification on how “Defendants recently became aware” of the agreement. Id.

Appellants refused to so much as respond and instead filed their motion to compel

arbitration without complying with Local Rule 7-3. ER at 111. Appellee followed

up one more time on April 14, 2021, attempting to meet and confer about the

inconsistent statements made in Appellants’ motion and supporting declarations

but received no response. ER 110.

      On April 14, 2021, Appellants filed a Motion to Compel Arbitration and

Stay the Action on the basis of the arbitration agreement that was produced on

April 7, 2021. ER at 11. The District Court’s May 17, 2021 Order denying the

motion identified the very issue that Appellants refused to discuss during the meet

and confer process, noting “the Court is perplexed as to how the Hotel Defendants,



                                          4
         Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 10 of 30




as the drafter of the Arbitration Agreement, could have first ‘become aware of’ the

Arbitration Agreement more than 5 years after the Arbitration Agreement was,

apparently, signed by Alvarez.” ER at 257.

        On June 2, 2021, Appellants filed a Notice of Appeal of the District Court’s

May 17th Order. Dkt. 30; ER at 413. After briefing and oral arguments, on

January 6, 2022, the Ninth Circuit Court of Appeals reversed the District Court’s

May 17th Order and remanded the matter back so that the Court could assess the

issue of whether Appellants waived their right to arbitrate pursuant to federal law.

ER 3.

        On January 28, 2022, the District Court granted Appellants permission to

file a renewed motion to compel arbitration. ER at 253. On February 28, 2022,

Appellants filed their Renewed Motion to Compel Arbitration. ER at 122. On

July 12, 2022, the District Court, even after applying federal law, found that

Appellants “waived any right they might have had to compel arbitration of

Alvarez’s non-PAGA claims under the Agreement.” ER at 9. On August 23,

2022, Appellants filed a Notice of Appeal of the District Court’s July 12th Order

denying their renewed motion to compel arbitration. Dkt. 65.

        Appellants’ Opening Brief fails to elaborate still and only claims that

Appellants’ failure to produce the document earlier was because Appellants

“simply did not initially realize Alvarez signed the Arbitration Agreement.”



                                           5
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 11 of 30




Opening Brief, p.17. In short, despite multiple requests by Appellee that

Appellants fully explain how they suddenly “became aware” of the alleged

agreement, despite that issue being fully briefed before the District Court and the

Ninth Circuit three times between April 2021 and March 2022, and despite the

district court’s ruling squarely addressing that same issue – twice, Appellants

remain unable to explain this material, crucial, and central issue on appeal.

Opening Brief 17-18.

                          SUMMARY OF ARGUMENT

      Appellants have been found to have waived their right to compel arbitration

pursuant to the arbitration agreement they produced in April 2021 – sixteen months

after they were first asked to produce any and all relevant arbitration agreements.

Despite briefing this issue twice before the Central District Court of California, and

now twice before this Ninth Circuit Court of Appeals, Appellants have

demonstrated they will do anything so that they do not have to litigate this class

action matter further in Court.

      Appellants wrongfully claim that they had no knowledge of the purported

arbitration agreement until April 2021, when they were engaged in discovery with

Appellee. This is demonstrably false for various reasons. First, Appellants were

the drafters of the arbitration agreement at issue, and as such, knowledge can be

imputed. Second, Appellants’ human resources agent has repeatedly testified to



                                          6
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 12 of 30




having knowledge of the arbitration agreement as far back as March 2016, and as

such, her knowledge as an agent can, and should, also be imputed unto Appellants.

Third, Appellants claimed in their Answer in August 2020 that Appellee’s claims

were barred by the Federal Arbitration Act. Lastly, Appellants responded to

discovery, and thus conducted their necessary investigation before certifying their

responses, in March 2021. Notably missing from Appellants’ Opening Brief – and

any briefing on this issue – is an explanation of how Appellants suddenly became

aware of the arbitration agreement when it was drafted by Appellants and retained

in Appellee’s personnel file. The record shows not only multiple instances where

Appellants’ knowledge of an arbitration agreement should be clear, but it also

shows many opportunities where Appellants could have asserted this right without

delaying litigation over a year and impeding judicial economy.

      Appellants also claim that their conduct during the pendency of this

litigation was not inconsistent with an intent to arbitrate. This argument too lacks

merit. Appellants have removed this matter from state to federal court, filed a

motion to dismiss and/or strike class allegations, seeking to remove – and indeed

did result in the dismissal of – two of Appellee’s causes of action with prejudice,

engaged in various meet and confer efforts to mediate, and participated in

discovery by responding to and propounding discovery requests before even

asserting that a relevant arbitration agreement existed. Appellants’ conduct



                                          7
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 13 of 30




purposefully delayed litigation of Appellee’s class claims and was entirely

inconsistent with the intent to arbitrate as well.

                             STANDARD OF REVIEW

      The question presented by Appellants is whether the district court erred in

finding waiver of the right compel arbitration. Opening Brief at 6. While

Appellants ask the Court to apply the de novo standard of review, the proper

standard is to review the district court’s factual findings and determine whether

they constitute clear error. Cape Flattery Ltd. v. Titan Maritime, LLC, 647 F.3d

914, 917 (9th Cir. 2011); Ticknor v. Choice Hotels Int’l, Inc., 265 F.3d 931, 936

(9th Cir. 2001); Sink v. Aden Enter., Inc., 352 F.3d 1197, 1199 (9th Cir. 2003);

Woods v. Saturn Distrib. Corp., 78 F.3d 424, 427 (9th Cir. 1996). Appellants cite

Richards v. Ernst & Young, LLP, 744 F.3d 1072, 1074 (9th Cir. 2013), for the

proposition that de novo review must apply here. However, as the Court made

clear in Richards, de novo review of questions of waiver only applies when the

facts are “undisputed.” Here they are not. Indeed, the key inquiry of when and

how Appellants “became aware” of the existence of the alleged arbitration

agreement is fundamentally disputed by the parties, is a material question, and

remains unanswered. As this Court held last year, “the district court’s factual

findings are reviewed for clear error, unless no facts are in dispute, in which case




                                            8
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 14 of 30




our entire review is de novo.” Zoller v. GCA Advisors, LLC, 993 F.3d 1198 (9th

Cir. 2021).

                                   ARGUMENT

      “The right to arbitration, like other contractual rights, can be waived.”

Martin v. Yasuda, 829 F.3d 1118, 1124 (9th Cir. 2016); see also United States v.

Park Place Assoc., Ltd., 563 F.3d 907, 921 (9th Cir. 2009). The party seeking to

prove waiver of a right to arbitration must show that Defendants had “‘(1)

knowledge of an existing right to compel arbitration; (2) acts inconsistent with that

existing right; and (3) prejudice to the party opposing arbitration resulting from

such inconsistent acts.’” Martin, 829 F.3d at 1125, quoting Fisher v. A.G. Becker

Paribas Inc., 791 F.2d 691, 694 (9th Cir. 1986); see also Newirth v. Aegis Senior

Cmtys., LLC, 931 F.3d 935, 940 (9th Cir. 2019). The United States Supreme Court

recently issued its order in Morgan v. Sundance, Inc., 142 S. Ct. 1708 (2022),

invalidated the Eight Circuit’s rule – identical to the rule in Newirth – and held that

the party resisting arbitration need not show prejudice. Therefore, the focus of a

waiver inquiry, since Morgan, is now solely on the party seeking to compel

arbitration. Morgan, 142 S. Ct. at 1714.

 I.   Appellants Had Knowledge of An Existing Right to Compel Arbitration.

      Appellants – for the fourth time – claim in their Opening brief that they did

not realize Appellee signed the arbitration agreement at issue until they responded



                                           9
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 15 of 30




to discovery in April 2021. Opening Brief, p. 20. This is not only demonstrably

false but is also contradicted by Appellants own evidence.

      Defendants repeatedly submit the Declaration of Evelyn Tangtanalit, who

was the human resources manger at the hotel where Appellee was employed. In

her declaration, Ms. Tangtanalit testifies that in 2016, she in fact distributed the

arbitration agreement to Appellee, and “discussed” the arbitration agreement with

Appellee. See, e.g., ER at 211. Ms. Tangtanalit states that after an employee

signed the arbitration agreement, the signature page was then retained in the

employee’s records. Id.

      Because Appellants are a private corporation, Appellants acquire knowledge

though the corporation’s agents. “Under well-established principles of agency, a

principal is bound by the knowledge of its agents concerning a matter upon which

it is the agent’s duty to give the principal information.” United States v. Georgia-

Pac Co., 421 F.2d 92, 98, n.9 (9th Cir. 1970); see also Restatement, Agency 2d §

272. “It is no defense that the agent did not, in fact, communicate his knowledge

to his principal.” Georgia-Pac. Co., 421 F.2d at 98, n.9; see also Bowen v. Mt.

Vernon Savings Bank, 105 F.2d 796 (1939). As such, given Ms. Tangtanalit’s

testimony, it is not only clear she was aware of the existence of the arbitration

agreement as early as March 2016 when Appellee was onboarded unto Appellants’

company, but also that this was a routine practice for the hotel to undergo with new



                                           10
        Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 16 of 30




employees at that time. Per the company’s own protocol, the arbitration

agreement’s signature page was placed into Appellee’s personnel file. Therefore,

this Court, as the District Court did, must impute Ms. Tangtanalit’s knowledge of

the existence of the arbitration agreement to the Appellants.

      Appellants’ Opening Brief is silent as to why Ms. Tangtanalit’s knowledge

of the arbitration agreement cannot be imputed to Appellants. Indeed, Appellants

concede as such. Opening Brief, p. 21 (“…Defendant do no dispute they are

imputed with knowledge of the right to compel arbitration…”)

      Moreover, Appellants were the drafters of the arbitration agreement at issue

here, and as such, knowledge of its existence must rightfully be imputed unto

them. See er v. Rockwell Collins, Inc., 812 F.Supp.2d 1063, 1066 (C.D. Cal. 2011)

(“Knowledge of a contractual right to arbitrate is imputed to the contract’s

drafter.”); see also Hoffman v. Constr. Co. v. Active Erectors & Installers, Inc., 99

F.2d 796, 798 (9th Cir. 1992) (“It cannot be said that Active lacked knowledge of

the right to compel arbitration. The contract itself called for arbitration of

disputes…”). As Appellants were the drafters of the onboarding paperwork given

to Appellee and other employees at that time that contained the relevant arbitration

agreement, it is beyond dispute that Appellants knew of Appellee’s right to seek

arbitration.




                                           11
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 17 of 30




      Even more, Appellants concede that they in fact had knowledge of their right

to arbitrate with Appellee prior to April 2021, but “concluded” that the alleged

arbitration provision in the still-unproduced “collective bargaining” agreement did

not cover Appellee’s claims. Opening Brief, p. 22. Appellee, the District Court,

and now this Court still have no insight into: (1) what rights the “collective

bargaining” arbitration provision provided, or (2) how Appellants were justified in

concluding that they lacked grounds to move to compel arbitration based on the

other alleged arbitration provision. If Appellants’ counsel claim to have lacked

knowledge of the agreement until April 2021, which Appellee strongly disputes,

then they had ample opportunity to articulate that claim in response to multiple

inquiries by Appellee’s counsel, or in response to the District Court’s May 17,

2021 or July 12, 2022 Orders, which found that Appellants indeed knew of the

existence of the agreement.

      In short, Appellants knew of their right to arbitrate as early as 2016 and

certainly during the pendency of this litigation but chose not to exercise that right

until 13 months of litigating this case.

II.   Appellants Intentionally Acted in a Manner That Was Inconsistent with

      Their Known Right to Arbitrate.

      While there is no concrete test to determine whether a party has engaged in

acts that are inconsistent with its right to arbitrate, the Ninth Circuit has held that



                                           12
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 18 of 30




“a party’s extended silence and delay in moving for arbitration,” and “actively

litigating [its] case to take advantage of federal court” are actions inconsistent with

the right to arbitrate. See Martin v. Yasuda, 829 F.3d 1118, 1125 (9th Cir. 2016);

Similarly, in Newirth, the Ninth Circuit held that “a party act inconsistently with

exercising the right to arbitrate when it (1) makes an intentional decision not to

move to compel arbitration and (2) actively litigates the merits of a case for a

prolonged period of time in order to take advantage of being in Court.” Newirth,

931 F.3d at 941.

      Moreover, a party that moves to dismiss on the merits, files an answer, and

conducts discovery, is taking advantage of the benefits of litigating in federal

court. See Martin, 829 F.3d at 1125-1126. “Seeking a decision on the merits of a

key issue in a case indicates an intentional and strategic decision to take advantage

of the judicial forum.” Newirth, 931 F.3d at 941. By way of example, litigating

for thirteen months in federal court while filing a motion to dismiss was, and

should be, sufficient to satisfy one’s burden of showing intentional relinquishment.

Id., citing Martin v. Yasuda, 829 F.3d at 1125.

          A. Appellants Actively Litigated This Matter for Thirteen Months

             Before Moving to Compel Arbitration.

      The record is clear with the amount of active litigation Appellants engaged

in during the pendency of this litigation. After Appellee filed her Complaint in



                                          13
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 19 of 30




state Court, Appellant removed this action to Federal Court. In addition, Appellant

engaged in the following, inconsistent with its right to and intent to compel

arbitration: (1) filing a motion to dismiss Appellee’s complaint (ER 324); filing a

motion to strike class allegations seeking to remove claims with prejudice (ER

324); and propounding and responding to substantial discovery (ER 75).

Appellants argue that they did not choose delay by bringing forth their motion to

compel arbitration and that these acts do not amount to showing a purposeful

delay. Appellants argument wants this Court not only to ignore the fact that

Appellants are themselves the drafters of the arbitration agreement and that they

instilled a policy and/or practice requiring on boarding employees to sign such a

document, but also asks this Court to ignore thirteen months of active litigation.

      Appellants’ attempt to break down Appellants’ conduct into individual acts

in order to demonstrate that their conduct was not inconsistent with their right to

compel arbitration. However, Appellants miss the point. It is not the fact that

Appellants filed a motion to dismiss alone, but it is the totality of the

circumstances, from removal, engaging in the discovery process, discussing

Belaire-West notices and Stipulated Protective Orders, filing an answer and

conducting over thirteen months of litigation, including filing of a motion to

dismiss that resulted in dismissal of two of Appellee’s claims, that prove

Appellants have acted inconsistently with their right to arbitrate.



                                           14
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 20 of 30




                 i. Motion to Dismiss

      Appellants cite three cases to support their contention that the motion to

dismiss and/or strike Appellant’s class allegations was not inconsistent with their

right to arbitrate, and each are wholly distinguishable from this matter. First,

Appellants attempt to cite to United Computer Sys. v. AT&T Info Sys., 298 F.3d

756, 765 (9th Cir. 2002) in support of their argument. Despite what Appellants

claim, the Ninth Circuit found that plaintiff waived its right to arbitrate because it

had knowledge of the arbitration agreement and because it filed a complaint in

court that explicitly requested declaratory judgment under California law relating

to the rights and obligations of the parties under the arbitration clause. Id. at 764.

The Court further found that plaintiff waived its right when it requested a jury trial

and $16 million in damages. Id. at 765. However, the Court did not find that

defendant suffered prejudice to satisfy a finding of waiver and remanded the matter

to the lower court to decide the scope of the arbitration agreement. Id. at 765-766.

This is not at all analogous to our instant case.

      Next, Defendants cite to Richards v. Ernest & Young, LLP, 744 F.3d 1072,

1074-1076 (9th Cir. 2013) where the Court did not find waiver of defendant’s right

to arbitrate because the Court did not find that plaintiff was prejudiced by

defendant’s delay in bringing a motion to compel. Most notably, Richards is

distinguishable because plaintiff’s claims were not dismissed with prejudice, and



                                           15
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 21 of 30




as such the result of the motion to dismiss was not a decision on the merits. Id. at

1074. However, here, Appellee’s causes of action per Labor Code 226 and 204

were dismissed with prejudice. ER at 320.

      Lastly, Defendants cite to Blau v. AT&T Mobility, 2012 U.S. Dist. LEXIS

21458 (N.D. Cal. February 21, 2012), which states that “a party does not waive its

right to arbitrate merely by filing a motion to dismiss.” Id. at *7, quoting Sharif v.

Wellness Int’l Network, Ltd., 376 F.3d 720, 726 (7th Cir. 2004). However, in Blau,

defendants were not found to be acting inconsistently with their right to arbitrate as

they had been clear that if they found an arbitration agreement, they would move to

compel arbitration. Id. That was certainly not the case here. Defendants here did

not mention arbitration for over a year of litigation. Moreover, the Court in Blau

did not find waiver, because the plaintiff had not been found to be prejudiced by

the delay in bringing forth the motion to compel. Again, that is not the case here.

                ii. Answer to Complaint

      Appellants argue that filing an Answer to Appellee’s Complaint was not an

act inconsistent with their right to compel arbitration. They cite to Britton v. Co-

Op Banking Group, 916 F.2d 1405 (9th Cir. 2005) and Fisher v. A.G. Becker

Paribas Inc., 791 F.2d 691 (9th Cir. 1986) to support this contention, but both are

distinguishable from the lawsuit here.




                                          16
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 22 of 30




      First, while the Court in Britton did conclude that defendant did not waive

its right to compel arbitration, the Court did so because plaintiff failed to

demonstrate that defendant had knowledge of the existing right to compel

arbitration. Britton, 916 F.2d at 1413. Moreover, in Britton, defendant was

unrepresented during the year delay in bringing forth his motion to compel

arbitration. Id. While defendant in Britton did file an answer to the complaint and

did fail to assert arbitration as an affirmative defense, he also purposefully chose to

avoid discovery and even sought a stay “to avoid or frustrate the litigation.” Id.

      In Fisher, the Ninth Circuit did not find waiver of defendant’s right to

compel arbitration for several reasons, none of which include a finding that an

answer to a complaint is not an act that is inconsistent with the right to compel

arbitration. Fisher, 791 F.2d at 694. First, in Fisher, defendant did not assert an

affirmative defense of arbitration in its answer nor did it move to compel at that

time and actively litigated the matter for three and a half years. Id. at 693.

However, the Court did not find waiver of its right to arbitrate because until 1985 –

three years after it filed its answer – defendant’s attempt to compel arbitration

would have been futile given the state of the law at that time. Id. at 694. The

Court found that “waiver cannot be shown where the agreement of the parties to

arbitrate all disputes arising out of the contract is unenforceable.” Id. Moreover,




                                           17
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 23 of 30




the Court found that plaintiff did not demonstrate prejudice from the delay

sufficient for a finding of waiver. Id. at 698.

      Fisher is entirely inapplicable to the facts of this instant action. The law has

been consistent with regards to Appellee’s class and individual claims, and, as

such, a motion to compel arbitration at the inception of this litigation would not

have been futile.

      Moreover, here, Appellants did not just file an answer. Again, the Court

must look at the totality of circumstances in determining whether Appellants’

conduct was inconsistent with Appellants right to compel arbitration.

Additionally, in this action, Appellants state in an affirmative defense that the

F.A.A. barred Appellee’s claims. This assertion was certified by Appellants’

attorneys that the defense had legal merit and evidentiary support. See Fed. R. Civ.

P. 11(b). As such, here, the fact that Appellant not only filed an Answer, but filed

the Answer with this affirmative defense, bolsters Appellee’s assertion that

Appellants’ failure to move to compel arbitration before April 2021 was

intentional.

      While Appellants claim that their inclusion of such an affirmative defense

was to protect and preserve their right should the arbitration agreement that they

thought belonged to a collective bargaining agreement may apply to Appellee’s

claim, this Court should not give merit to this argument. First, Appellants, to this



                                          18
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 24 of 30




day, have failed to produce this arbitration agreement that purportedly belonged to

some collective bargaining agreement, and as such the merits of its applicability to

Appellee’s claims has never been assessed by any Court or by Appellee. Second,

Appellants had numerous opportunities to address their line of thinking to not only

Appellee’s counsel, but also to the District Court in its two separate briefings on

this issue and failed to do so. As such, while a stand alone answer to a complaint

may not be an act inconsistent with the right to arbitrate, given Appellants’

Answer, with an affirmative answer addressing the FAA, and the remainder of

their conduct in litigation, Appellants actions clearly indicate an intentional

decision not to arbitrate.

                iii. Discovery

      Lastly, Appellants claim that engaging in discovery was not conduct that

was inconsistent with Appellants right to arbitrate. Appellants again cite to

Britton, 916 F. 2d at 1413 and Richards, 744 F.3d at 1075 to support their

contention. However, as extensively discussed above, both of these cases are

distinguishable from our facts in this matter. Appellants also cite to Hightower v.

JPMorgan Chase Bank, N.A., 2014 WL 12558114, at *7 (C.D. Cal. Jan. 28, 2014)

in order to justify their involvement in the discovery process in this litigation.

However, Hightower, is also wholly distinguishable.




                                           19
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 25 of 30




      In Hightower, the Court refuses to find waiver of defendant’s right to

compel arbitration because it found that plaintiff was not prejudiced by defendant’s

conduct. Id. at *6-7. In Hightower, there were four class representatives.

Defendant Chase engaged in discovery with regards to each class representative,

however, it was at plaintiffs' request that defendant Chase engaged in arbitration-

related discovery for approximately one year before filing its motion. Id. at *5. As

such, the Court did not impute this act as inconsistent with an intent to arbitrate.

Id. No such agreement was made here, and Appellants never communicated their

intent to arbitrate before they engaged in discovery with Appellee.

      Instead, the matter Richards v. El Cajon Motors, Inc., 200 Cal.App.4th 832

(2011) is more on point with the instant facts. The Court found that defendant

waived its right to compel arbitration, despite only a five-month delay in bringing a

motion to compel arbitration, because it acted inconsistent with this right and its

actions prejudiced plaintiff. Id. at 844. Specifically, defendant engaged in class-

related discovery before moving to compel arbitration. Id. The Court found that

had arbitration been ordered, the class discovery would have been rendered useless

to plaintiff in her lawsuit against defendant in light of AT&T Mobility LLC v.

Concepcion, 563 U.S. 1746 (2011), which upheld the waiver of class actions in

arbitration. Id. at 845. As such, the five-month delay was deemed prejudicial and




                                          20
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 26 of 30




the engagement in class-related discovery – discovery that would be useless in

arbitration – was deemed an act inconsistent with the right to arbitrate. Id. at 846.

          B. Appellants’ Conduct During the Pendency of this Lawsuit

             Reflects an Intentional Decision Not to Arbitrate Appellee’s

             Claims

      Appellants attempt to evade responsibility for litigating, despite knowing

they had a right to compel arbitration, by citing to the following three cases to

support their argument that the amount of litigation they engaged in did not amount

to waiver. However, none of Appellants’ cited cases provides justification for the

actions Appellants engaged in during this lawsuit. First, Appellant cites to Lake

Commc’ns, Inc. v. ICC Corp., 738 F.2d 1473, 1477 (9th Cir. 1984), where the

defendant waited 13 months and filed a motion to dismiss before moving to

compel arbitration. However, the court there made no finding of whether the 13-

month delay or the motion to dismiss amounted to actions inconsistent with the

right to arbitrate. Id. Instead, it found that the plaintiff failed to show prejudice.

Id. Here, not only was there prejudice, but Appellee need not address the prejudice

caused by Appellants’ delay in light of the Supreme Court’s ruling in Morgan.

      Next, Appellants cite Khalatian v. Prime Time Shuttle, Inc., 237 Cal.App.4th

651, 660-63 (2015), and the 14-month delay in that case for the same proposition.

Again, the California Court of Appeal failed to reach a finding of whether the 14-



                                           21
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 27 of 30




month delay was sufficient to show actions inconsistent with one’s right to

arbitrate and again issued a ruling by finding no prejudice to the plaintiff. Id. at

663.

       Finally, Appellants cite Groom v. Health Net, 82 Cal.App.4th 1189, 1194-99

(2000), for the same proposition that their actions do not rise to the level of

inconsistent with their right to arbitrate. Yet again, the case they cite does not

support their contention. In Groom, the California Court of Appeal’s decision

made no finding of whether the delay or filing of demurrers amounted to actions

inconsistent with the right to arbitrate and, as the courts in Lake Commc’ns Inc.

and Khalatian did, the Court’s decision was based on a finding of that the plaintiff

failed to show prejudice. Groom, 82 Cal.App.4th at 1198.

       This Court has routinely held that litigants who engage in the amount of

litigation activity that Appellants did, have acted inconsistent with their right to

arbitrate. Newirth, 931 F.3d at 941 (finding defendant acted inconsistently with its

right to arbitrate when it filed a motion to dismiss and address a “key merits

issue.”); Martin, 829 F.3d at 1125 (concluding that the defendants acted

inconsistently with pursuing arbitration when they spend seventeen months

actively litigating their case in federal court, including filing a motion to dismiss

“on a key merits issue”); Van Ness Townhouses v. Mar Inuds. Corp., 862 F.2d 754,

759 (9th Cir. 1988) (finding waiver when a party answered complaints, moved to



                                           22
       Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 28 of 30




dismiss the action, and did not claim a right to arbitration in any of the pleadings);

Kelly v. Pub. Util. Dist. No. 2, 552 Fed. App’x 663, 664 (9th Cir. 2014) (finding

that defendants engaged in acts inconsistent with their right to arbitration as the

parties conducted discovery and litigated motions, including a motion to dismiss).

The Court should, respectfully, reach the same consistent finding here.



                                  CONCLUSION

      For the foregoing reasons, the District Court’s order denying Appellants

motion to compel arbitration of Appellee’s claims should be affirmed in full.

                                        Respectfully submitted,

                                        EMPLOYEE JUSTICE LEGAL GROUP


                                        Respectfully submitted,

                                                     s/Saima Ali

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                                          23
         Case: 22-55749, 12/12/2022, ID: 12608129, DktEntry: 14, Page 29 of 30




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 12th day of December, 2022, I electronically filed

the foregoing Appellee’s Answering Brief with the Clerk of the Court using

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                                         24
